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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT TACOMA

 9   ROQUE “ROCKY” DE LA FUENTE,                         )
                                                         )     Case No. 3:16-cv-05801
10                          Plaintiff,                   )
            v.                                           )     PLAINTIFF’S NOTICE OF
11                                                       )     CONSTITUTIONAL CHALLENGE
     KIM WYMAN, in her official capacity as the          )     PURSUANT TO RULE 5.1 OF THE
12   Secretary of State of the State of Washington,      )     FEDERAL RULES OF CIVIL
                                                         )     PROCEDURE
13                          Defendants.                  )
                                                         )
14

15          Pursuant to Fed.R.Civ.P. Rule 5.1, plaintiff hereby gives notice to Attorney General Bob
16   Ferguson that plaintiff is challenging the constitutionality of RCW 29A.56.660 of the Revised
17
     Code of Washington under the First and Fourteenth Amendments to the United States
18
     Constitution.
19
            Plaintiff requests in the Complaint (Document #1 on the Court’s Docket): (1)
20
     Preliminarily enjoin defendants from enforcing RCW 29A.56.620 of the Revised Code of
21

22   Washington; (2) Permanently enjoin defendants from enforcing RCW 29A.56.620 of the

23   Revised Code of Washington; (3) Declare RCW 29A.56.620 of the Revised Code of

24   Washington unconstitutional as applied to independent candidates for President of the United
25   States; (4) Award plaintiff the cost of this action together with their reasonable attorneys’ fees
26
     PLAINTIFF’S NOTICE OF CONSTITUTIONAL
                                                              BADGLEY MULLINS TURNER PLLC
     CHALLENGE PURSUANT TO RULE 5.1 OF THE                          1992 9 Balling er Wa y NE, Su it e 2 00
     FEDERAL RULES OF CIVIL PROCEDURE- 1                                    S eat t le, WA 9 8 1 5 5
     Case No. 3:16-cv-05801                                                  TEL 206.621.6566
                                                                             FAX 206.621.9686
               Case 3:16-cv-05801-BHS Document 2 Filed 09/19/16 Page 2 of 2




     and expenses pursuant to 42 U.S.C. §1988; and,(5) Retain jurisdiction of this action and grant
 1

 2   plaintiff such other relief which may in the determination of this Honorable Court to be

 3   necessary and proper.

 4          DATED this 19th day of September, 2016.
 5                                                BADGLEY MULLINS TURNER PLLC
 6

 7                                                /s/Donald H. Mullins__________________
                                                  Donald H. Mullins, WSBA #4966
 8                                                Wesley G. Foreman, WSBA #44269
                                                  19929 Ballinger Way NE, Suite 200
 9                                                Seattle, WA 98155
                                                  Telephone: (206) 621-6566
10                                                Facsimile: (206) 621-9686
                                                  Email: dmullins@badgleymullins.com
11
                                                  Email: wforeman@badgleymullins.com
12                                                Attorneys for Plaintiff

13

14

15                                  CERTIFICATE OF SERVICE
16
            I hereby certify that on September 19, 2016, I served a copy of the foregoing on the
17   following parties via legal messenger:

18          Secretary Kim Wyman
            Washington Secretary of State
19          Elections Division
            520 Union Avenue SE, Suite 250
20
            Olympia, WA 98504
21

22

23                                                ___________________________
                                                  Staci Wilkie, Paralegal
24

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26
     PLAINTIFF’S NOTICE OF CONSTITUTIONAL
                                                            BADGLEY MULLINS TURNER PLLC
     CHALLENGE PURSUANT TO RULE 5.1 OF THE                        1992 9 Balling er Wa y NE, Su it e 2 00
     FEDERAL RULES OF CIVIL PROCEDURE- 2                                  S eat t le, WA 9 8 1 5 5
     Case No. 3:16-cv-05801                                                TEL 206.621.6566
                                                                           FAX 206.621.9686
